            Case 23-03141 Document 1-3 Filed in TXSB on 08/01/23 Page 1 of 5




                                               CAUSE NO. 2020-38738

JET ALL COMPANIES, INC. ,                                    §                  IN THE DISTRICT COURT OF
      Plaintiff,                                             §
                                                             §
VS .                                                         §                      HARRISCOUNTY, TEXAS
                                                             §
HOOVER SLOVACEK LLP,                                         §
    Defendant.                                               §                        1641h JUDICIAL DISTRICT

                                          AS~GNMENTOFJUDGMENT

             On October 31 , 2020,judgment (the "Judgment") was rendered in the above-referenced cause

in favor of Hoover Slovacek LLP against Jetall Companies, Inc. Additionally, this Court found, in

the Judgment, inter alia, that:

                 Jetall has sued oppolri.ng Btt.omeys. who represent parti.es adverse to Ieta14 on multipk
                 occasiOJIS in the put;

                 Jetall has been sanctioned multiple times in past litigation for Cil8aging in improper and
                 repugnant actions, in court& of law;

                 Jetall brought Iha law,rnlt fut an im.pmper purpose, whlch was bl h.ara.as and increaae the
                 coat of litigation and bl cause oppot.ing counsel to pemonally Incur uonecesaa.ry e.xpemea
                 so as to diu,na.de l.19 opposing Cl'.lun&el fmm. repreaenting parties ad.verse to I ~ and.


             WHEREAS, on March 29, 2022, the Houston Court of Appeals, Fourteenth District,

affirmed the Judgment, in Cause No. 14-20-00691-CV.

             WHEREAS, on September 23 , 2022, the Supreme Court of Texas, denied Jetall Companies,

Inc. ' s petition for review, in Cause No. 22-0553 .

             WHEREAS, on November 1, 2022, the Houston Court of Appeals, Fourteenth District,

issued its mandate, in Cause No. 14-20-00691-CV.

             WHEREAS, Hoover Slovacek LLP assigns, as stated herein, all of their rights, title and

interest to the Judgment against Jetall Companies, Inc.; and


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                                       HREP/Jetall et al.                      179                      Exhibit 2
            Case 23-03141 Document 1-3 Filed in TXSB on 08/01/23 Page 2 of 5




             WHEREAS, Hoover Slovacek LLP and John Quinlan, Osama Adullatif, and Omar Khawaja

(the "Assignees") desire to place of record the assignment and acknowledge that the Judgment, in

favor of Hoover Slovacek LLP belongs to the Assignees, in an equal and undivided interest.

             IT IS, THEREFORE, AGREED AS FOLLOWS:

             Hoover Slovacek LLP, in consideration for good and valuable consideration in hand paid by

the Assignees, the receipt and sufficiency of which is hereby acknowledged, hereby assigns, sets

over, and conveys, without recourse, representation or warranty of any kind, express or implied, as

is, to the Assignees, and or their successors and or assigns, all of the Hoover Slovacek LLP's rights,

title, and interest, in the Judgment rendered in this cause on October 31, 2020.

             The Effective Date of this assignment is February 17, 2023.

HOOVER SLOVACEK LLP                                 OMARKHAWAJA




Print: T. Michael Ballases                          Print: - - - - - - - - - - -

It' s: Partner




JOHN QUINLAN                                        OSAMA ADULLATIF




Print: - - - - - - - - - - -                        Print: - - - - - - - - - - -




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                                  HREP/Jetall et al.                180                  Exhibit 2
          Case 23-03141 Document 1-3 Filed in TXSB on 08/01/23 Page 3 of 5




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             The Effective Date of this assigi,ment is February 17, 2023.

HOOVERSLOVACEKLLP                                    OMAR KHAWAJA




Print: T. Michael Ballases                           Print:
                                                              - - - - - - - -- - -
It's: Partner



                                                     OSAMA ADULLATIF




                                                     Print:
                                                              - -- - -- - -- --




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                                  HREP/Jetall et al.                  181                   Exhibit 2
        Case 23-03141 Document 1-3 Filed in TXSB on 08/01/23 Page 4 of 5




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HOOVER SLOVACEK LLP                                OMARKHAWAJA




Print: T. Michael B;illases                         Print:
                                                             - -- - -- - -- --
It' s: Partner




JOHN QUINLAN




Print:
          - - - -- - - - - --




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                                HREP/Jetall et al.                 182                     Exhibit 2
             Case 23-03141 Document 1-3 Filed in TXSB on 08/01/23 Page 5 of 5




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 HOOVER SLOVACEK LLP                                 OMARKHAWAJA




Print: T. Michael Ballases

It's: Partner




JOHN QUINLAN                                         OSAMA ADULLATIF




Print: _ _ _ _ _ _ _ _ _ __                          Print: - - - - - - - - - - -




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                                   HREP/Jetall et al.                 183                   Exhibit 2
